Case 2:05-cr-80025-VAR-RSW ECF No. 612, PageID.5630 Filed 08/06/10 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff(s),               CASE NUMBER: 05-80025
                                                HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                         ORDER

      This matter is before the Court on Timothy O’Reilly’s “Motion to Exclude

Evidence of ‘Future Dangerousness’ and for Evidentiary Hearing.” (Doc. #597).

O’Reilly asks the Court to exclude the murder-for-hire plots as evidence of future

dangerousness at the penalty phase of trial.

      In the alternative, O’Reilly asks the Court to exclude from consideration at the

penalty phase the testimony of Zouelfikar Nehmeh, on the grounds that this testimony is

too unreliable to be considered.

      Oral argument was heard on August 5, 2010.

      O’Reilly’s motion is DENIED.

      Contrary to O’Reilly’s belief, the Government may amend the Notice of Intent to

Seek the Death Penalty. See United States v. Battle, 173 F.3d 1343, 1347 (11th Cir.

1999) (finding it was proper for the trial court to allow an amendment on the eve of the

sentencing proceedings). Even if the Government does not seek an amendment,

O’Reilly has been on notice that the Government would introduce this evidence to


                                            1
Case 2:05-cr-80025-VAR-RSW ECF No. 612, PageID.5631 Filed 08/06/10 Page 2 of 3




support the future dangerousness aggravating factor, and the Government complied

with its requirement to submit notice of the aggravating factors it intends to prove at the

penalty phase; the Government is not required to provide specific evidence in the Notice

of Intent. See id.

       In addition, the Court finds this case is similar to United States v. Taylor, 583

F.Supp.2d 923 (E.D. Tenn. 2008). In Taylor, the defendant wrote a letter which

contained a statement that could constitute a threat against a co-defendant and witness,

and he sent letters to third parties from the jail in someone else’s name. Taylor, 583

F.Supp.2d at 938. The court held the jury could use this evidence to find future

dangerousness. Id. at 948. According to the court:

       This evidence, if believed by a rational juror, could support a conclusion
       that Defendant might be involved in or might influence others to commit
       harm to others, including prison staff and other inmates.
                                        .     .    .

       Appropriate rebuttal to the government’s evidence in this case would be
       information that it would be impossible for Defendant to ever communicate
       with anyone outside of prison for the rest of his life or that he would not be
       able to influence any other inmates while in prison. And, of course, with
       the proper witness, such as a psychologist, testimony would be proper
       either as mitigating evidence or rebuttal that Defendant did not possess
       the personal qualities to harm others either directly or indirectly and would
       be unlikely to ever develop those personal qualities.

Id. at 938.

       The Court finds that O’Reilly’s plots while in prison, to have witnesses killed

outside of prison, evidences future dangerousness in a prison setting, is sufficiently

relevant to the consideration of who should live and who should die, is sufficiently

reliable, and its probative value is not outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury.

                                             2
Case 2:05-cr-80025-VAR-RSW ECF No. 612, PageID.5632 Filed 08/06/10 Page 3 of 3




        O’Reilly may present his argument that neither Nehmeh or Dominic Guidice-

Young had the ability or willingness to kill witnesses, and no one – including the

Government – took O’Reilly seriously, as rebuttal evidence.

        The jury will be instructed that it must consider Nehmeh’s credibility in deciding

whether the Government proved the future dangerousness aggravating factor beyond a

reasonable doubt. If O’Reilly can lay the proper foundation, he may introduce

documents he received from the Court, as additional evidence in support of his

argument that Nehmeh is not credible and should not be believed.

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: August 6, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 August 6, 2010.

 s/Linda Vertriest
 Deputy Clerk




                                                   3
